     Case 2:13-cr-06070-SAB      ECF No. 45     filed 02/24/14   PageID.122   Page 1 of 1




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 5                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,
                                                    No.    2:13-CR-6070-WFN-1
 8                             Plaintiff,
 9           -vs-                                   ORDER ACCEPTING
                                                    GUILTY PLEA
10
     KENNETH RICHARD ROWELL,
11
12                             Defendant.

13
14           This Court finds Defendant's plea of guilty to Count 1 of the Indictment is
15   voluntary, is not induced by fear, coercion, or ignorance; is given with knowledge of the
16   charged crime, the essential elements of the charged crime, the Government's evidence of
17   the charged crime and the consequences, and that the facts admitted to by the Defendant in
18   open court constitute the essential elements of the crime as charged. Accordingly,
19           IT IS ORDERED that:
20           1. Defendant's guilty plea is ACCEPTED.
21           2. All pending motions are DENIED AS MOOT.
22           The District Court Executive is directed to file this Order and provide copies to
23   counsel.
24           DATED this 24th day of February, 2014.
25
26                                                 s/ Wm. Fremming Nielsen
27                                                   WM. FREMMING NIELSEN
     02-24-14-1                               SENIOR UNITED STATES DISTRICT JUDGE
28


     ORDER ACCEPTING
     GUILTY PLEA
